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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                                CRIMINAL ACTION NO. 3:13-CR-23-05
                                                    (JUDGE GROH)

  TREY CARDALE CAMPBELL,

                Defendant.


         ORDER DENYING DEFENDANT’S MOTION TO CORRECT SENTENCE

         On January 17, 2014, Defendant, by counsel Barry Beck, filed a Motion to Correct

  Sentence pursuant to Federal Rule of Criminal Procedure 35(a). Rule 35(a) of the Federal

  Rules of Criminal Procedure provides that “[w]ithin 14 days after sentencing, the court may

  correct a sentence that resulted from arithmetical, technical, or other clear error.”

         In this case, Defendant was sentenced on January 13, 2014. On January 15, 2014,

  the Court entered judgment in the matter. The Court sentenced Defendant to fifteen

  months “to run concurrently with the defendant’s sentence imposed in Berkeley County

  Circuit Court in Case Number 11-F-170" on Count Thirty-Eight of the Indictment, aiding and

  abetting the distribution of cocaine base within 1,000 feet of a school in violation of 21

  U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 860. The Court recommended that Defendant be

  given credit for time served since September 9, 2013.

         Defendant argues that with the Court’s recommendation for time served, he would

  be required to serve eleven months. However, the BOP cannot legally grant Defendant

  credit for time served because he appeared before this Court on September 9, 2013
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  pursuant to a writ of habeas corpus ad prosequendum and the credit for time served has

  been applied to his state sentence. Therefore, pursuant to 18 U.S.C. § 3585(b), Defendant

  is not entitled to further credit for this period of imprisonment. Defendant argues that the

  Court must correct its sentence to effectuate its intention that Defendant serve only eleven

  months rather than fifteen months.

         In reviewing the sentence imposed in this case, the Court did not commit an

  “arithmetical, technical, or other clear error.” Rather, the Court intended and did so

  sentence Defendant to a fifteen month term of imprisonment.            Although the Court

  recommended Defendant have credit for time served since September 9, 2013, it is up to

  the BOP to determine the amount of credit Defendant is entitled to receive. Because the

  Court did not commit an arithmetical, technical, or other clear error in imposing its

  sentence, Defendant’s “Motion to Correct Sentence” pursuant to Federal Rule of Criminal

  Procedure 35(a) is DENIED.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to all counsel of record and/or

  pro se parties.

         DATED: February 6, 2014




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